                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

   NETCHOICE,                                     )
                                                  )
           Plaintiff,                             )
                                                  )
   v.                                             )    No. 3:24-cv-01191
                                                  )
   JONATHAN SKRMETTI, in his official             )    JUDGE RICHARDSON
   capacity as the Tennessee Attorney             )
   General and Reporter,                          )
                                                  )
           Defendant.                             )


                                             ORDER

        On January 17, 2025, the United States Supreme Court issued a per curiam opinion in

Tiktok Inc. v. Garland, 604 U.S. ___ (2025). Defendant is encouraged to address, in their response

to Plaintiff’s pending motion for a temporary restraining order (Doc. No. 48, “TRO Motion”), the

extent to which Tiktok Inc. is probative of the issues presented in the TRO motion, including the

extent to which it serves to support or refute Plaintiff’s assertion that “[t]he Act’s speech

regulations also trigger strict scrutiny because the Act’s coverage defini[1]tion of “social media

company” is content-based . . . .” and that therefore “all of the Act’s operative provisions [are]

content-based.” (Doc. No. 49 at 20) (emphasis added).

        Plaintiff at its option may submit a reply, not to exceed seven pages, within two days after

Defendant file their response to the TRO Motion. The reply should include a discussion of the

above-referenced matters to the extent Plaintiff believes warranted.

        IT IS SO ORDERED.


                                                      ELI RICHARDSON
                                                      UNITED STATES DISTRICT JUDGE




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